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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


      UNITED STATES OF AMERICA,                      )
                                                     )
      Plaintiff,                                     )
                                                     )
      vs.                                            )     No. 2:04-CR-80
                                                     )
      CHARLES TANNER,                                )
                                                     )
      Defendant.                                     )


                    ORDER REGARDING SENTENCE REDUCTION
                     PURSUANT TO 18 U.S.C. § 3582(C)(2)
     Upon a Motion of the Defendant for a sentence reduction under 18 U.S.C.

§ 3582(c)(2), as a result of Amendment 782 to the United States Sentencing

Guidelines, made retroactive by the United States Sentencing Commission

pursuant to 28 U.S.C. § 944(u); and having considered the existing record and

the Government’s response indicating no objection (DE #954), and taking into

account the policy statement set forth at U.S.S.G. § 1B1.10 and the sentencing

factors set forth in 18 U.S.C. § 3553(a), to the extent that they are

applicable, IT IS ORDERED that the Defendant’s previously imposed sentence of

imprisonment (as reflected in the last judgment issued) of life imprisonment

on Counts 2 and 3, to be served concurrently, is reduced to 360 months on

Counts 2 and 3, to be served concurrently. If the amount of time the Defendant

has served exceeds the reduced sentence stated in this Order, the sentence is

reduced to a “Time Served” sentence.

     In the event that Defendant is eligible for release within ten days of the
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date of this order, the Bureau of Prisons is directed to release Defendant as

close to his scheduled release date as reasonably possible, but not later than

ten days after the date of this order.          This will enable to Bureau of Prisons

to satisfy any of its duties including: (1) to notify victims and witnesses of

the release of an offender as required by 18 U.S.C. § 3771; (2) to notify law

enforcement officials and sex offender registration officials of the release

of a violent offender or sex offender pursuant to 18 U.S.C. §§ 4042(b) and (c);

and (3) to permit adequate time to collect DNA samples pursuant to 42 U.S.C.

§ 14135(a).



I.   COURT DETERMINATION OF GUIDELINE RANGE (Prior to any departures)

Previous Offense Level: 44                 Amended Offense Level: 42
Criminal History Category: I               Criminal History Category: I
Previous Guideline Range: life             Amended Guideline Range: 360 mo. to life


II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

       The previous term of imprisonment imposed was within the guideline range

applicable to the Defendant at the time of sentencing.              The reduced sentence

is likewise within the amended guideline range.

III.    ADDITIONAL COMMENTS


       Except as provided above, all provisions of the judgment dated May 27,

2009, shall remain in effect.



IT IS SO ORDERED.


DATED:       January 26, 2016                   /s/ RUDY LOZANO, Judge
                                                United States District Court
